                                                                                 Case 3:07-cr-00765-MHP Document 114 Filed 06/04/10 Page 1 of 1



                                                                         1
                                                                         2
                                                                         3
                                                                         4
                                                                         5                                  UNITED STATES DISTRICT COURT
                                                                         6                                NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    UNITED STATES OF AMERICA,                           No. CR07-0765 MHP
                                                                         9                   Plaintiff,
                                                                         10          v.                                           ORDER UNSEALING EXHIBIT F TO
                                                                                                                                  DECLARATION OF DAVID J. WARD
United States District Court




                                                                         11   MENDEL BEKER, et al.,
                               For the Northern District of California




                                                                         12               Defendants.
                                                                              ___________________________________/
                                                                         13
                                                                         14
                                                                         15          On April 5, 2010, Judge Marilyn Hall Patel entered an order sealing Exhibits D through G to
                                                                         16   the Declaration of David J. Ward filed in support of the Government's opposition to the Defendants'
                                                                         17   Motion for Modification of Conditions of Release. On May 19, 2010, Magistrate Judge Edward M.
                                                                         18   Chen held a hearing on Government's Motion to Seal Exhibit F and ordered parties to meet and
                                                                         19   confer and to submit cross briefs to this Court by June 2, 2010. On June 2, 2010, Defendants filed
                                                                         20   their brief, and Government filed a Withdrawal of it's Motion to Seal Exhibit F.
                                                                         21          Based on Government's Withdrawal of it's Motion to Seal Exhibit F, IT IS HEREBY
                                                                         22   ORDERED that Exhibit F shall be unsealed from the court file.
                                                                         23          IT IS SO ORDERED.
                                                                         24
                                                                         25   Dated: June 4, 2010
                                                                                                                                  _________________________
                                                                         26                                                       EDWARD M. CHEN
                                                                                                                                  United States Magistrate Judge
                                                                         27
                                                                         28
